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UNDER SEAL

IN THE UNITED STATES DISTRICT COURT FOR THE
EASTERN DISTRICT OF VIRGINIA

 

 

 

 

 

 

 

 

Alexandria Division | LL E
UNITED STATES OF AMERICA, 1G =2 ania
UNDER SEAL
V. © “CLERK, US. DISTRICT COURT
ALEXANDRIA, VIRGINIA
KWASHIE SENAM ZILEVU, Case No. 1:19-mj-430
Defendant.

 

 

AFFIDAVIT IN SUPPORT OF A CRIMINAL COMPLAINT AND ARREST WARRANT

Your affiant, Flannan Soden, being duly sworn, hereby deposes and states as follows:

INTRODUCTION

1. lam a Special Agent with the Treasury Inspector General for Tax Administration
(“TIGTA”) and have been since November 2016. I am currently assigned to the Mid-Atlantic
Field Division — New Carrollton, Maryland Office. Iam a graduate of the Criminal Investigator
Training Program at the Federal Law Enforcement Training Center as well as the TIGTA Special
Agent Basic Training Academy. Prior to becoming a Special Agent, I was an Investigative
Specialist for a year and four months with TIGTA. Prior to my career with TIGTA, I was a
Taxpayer Advocate with the Internal Revenue Service (“IRS”) for approximately 6 years.

2. Asa TIGTA agent, I have received instruction and training, including the use of
computers, cell phones, social media, email, and the internet in connection with criminal activity.
In particular, | have experience investigating the impersonation of IRS officials, theft of IRS
property, bribery, unauthorized disclosure of tax return information, loss of IRS property and
equipment, and threats to and assaults on the IRS and its employees. In the course of conducting

or participating in criminal investigations, I have interviewed and debriefed witnesses and
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informants; conducted physical surveillance; analyzed bank records and other financial
documents; analyzed telephone records; and collected and analyzed evidence.

3. I submit this affidavit in support of a criminal complaint charging KWASHIE
SENAM ZILEVU (“ZILEVU”) with knowingly committing Access Device Fraud, in violation
of Title 18, United States Code, Section 1029(a)(5). This affidavit is also submitted in support of
an arrest warrant.

4. The facts and information contained in this affidavit are based upon my personal
knowledge of the investigation and information conveyed to me by other state and federal law-
enforcement. All observations that I did not personally make were related to me by the
individuals who made them, or come from my review of reports, documents, records, and other
physical evidence obtained during the course of this investigation. This affidavit contains
information necessary to establish probable cause. It does not include each and every fact known
by me or known by the government.

PROBABLE CAUSE

5. TIGTA is investigating potential violations of 18 U.S.C. § 1029(a)(5) (Access
Device Fraud) and other related criminal offenses. During the course of the investigation,

TIGTA identified three victims, Victim A, Victim B, and Victim C (collectively referred to as
“the victims”), whose identities had been stolen. Further investigation revealed that from in or
about January 2016 to in or about December 2017, the victims’ stolen personally identifiable
information (“PII’’) was used to obtain three credit cards. Interviews with the victims confirmed
that the credit cards were obtained without their knowledge or consent.

6. The credit card applications submitted using Victim A’s and Victim C’s PI] listed

14520 General Washington Drive, Woodbridge, Virginia 22193, as Victim A’s and Victim C’s
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address. The card issued in Victim A’s name and the card issued in Victim C’s name were
delivered to the listed address in Woodbridge, Virginia.

7. The email account on the credit card application submitted under Victim B’s
name was accessed on multiple occasions using an Internet Protocol (“IP”) address linked to the
14520 General Washington Drive, Woodbridge, Virginia 22193.

8. ZILEVU owns and lives at the property located at 14520 General Washington
Drive, Woodbridge, Virginia 22193 (hereinafter “ZILEVU’s address”).

9. Evidence obtained during the investigation shows that from in or about January
2016 to in or about February 2018, ZILEVU used the three credit cards fraudulently issued in the -
name of the victims to purchase approximately $69,000 in various goods and services.

10. Onor about September 19, 2019, United States Postal Inspection Service
(“USPIS”) Postal Inspector Jackie Palmer and I interviewed ZILEVU at his place of employment
(“September 2019 Interview’). During the interview, ZILEVU made the following statements:

a. He is currently employed as an Information Technology Specialist with the IRS.

b. He lives at the residence located at ZILEVU’s address with his cousin, Aseye
Zilevu, and another tenant to whom he rents out the basement.

c. He received the credit cards issued to the three victims.

d. He routinely used all three credit cards to purchase goods and services for his
personal use.

11. The investigation has shown that ZILEVU was aware that he was using the names
and identities of real persons, and not providing fictitious information. When a person submits a
credit card application to a financial institution, that institution discloses the fact that pursuant to

the Bank Secrecy Act and the USA Patriot Act, all financial institutions are required to obtain,
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verify, and record information that identifies each person who opens an account. ZILEVU knew
that if he used fictitious information, his credit card applications would not be approved. So, he
knowingly and without authorization used the true names, addresses, dates of birth, and Social
Security numbers of at least three real individuals to obtain fraudulent credit cards.

A. Victim A

12. Onor about January 25, 2016, an American Express (“AMEX”) application was
submitted electronically using Victim A’s PII. In addition to listing Victim A’s true address and
telephone number, the AMEX application listed Victim A’s home address as ZILEVU’s address, _
and Victim A’s telephone number as Google Voice telephone number ending in 2285, which is
ZILEVU’s phone number (hereinafter “ZILEVU’s Google number”). A review of Prince
William County property records showed that ZILEVU is the current owner of the property
located at ZILEVU’s address and has been the owner since on or about January 16, 2014.
Google’s records established that the ZILEVU’s Google number is assigned to ZILEVU. The
AMEX credit card was issued to Victim A, and mailed to ZILEVU’s address.

13. | Between on or about April 30, 2016, and on or about February 24, 2017,
approximately $49,000 was charged to the AMEX card. A review of the AMEX credit card
statements showed that numerous transactions were made in Woodbridge, Virginia, within the
Eastern District of Virginia.

14. On or about February 24, 2017, an American Express employee contacted the
USPIS to report that a fraudulent credit card application with Victim A’s PII had been submitted.

15. On or about April 4, September 7, and December 29, 2017, among other dates,
USPIS agents conducted surveillance of ZILEVU’s address and observed an individual that

matches the appearance of ZILEVU at the residence.
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16. | Through my training and experience, J know that individuals who fraudulently
obtain credit cards often try to avoid detection by dispersing charges amongst various types of
retailers. The AMEX credit card statements listed multiple purchases made at various retailers.
Security footages from some of the retailers showed an individual matching ZILEVU’s
description making purchases at the same time and location indicated on the AMEX credit card
statements.

17. For instance, on or about January 3, 2017, the AMEX credit card was used to
make a purchase totaling $217.27 at Lowe’s of Dale City in Woodbridge, Virginia. Security
footage from Lowe’s of Dale City shows an individual matching ZILEVU’s description inside
the store on January 3, 2017, around 9:11 a.m. At 9:15 a.m., a person matching ZILEVU’s
description can be seen using a credit card at the cash register and exiting the store around 9:16
a.m. Surveillance video of the parking lot outside of Lowes on or about January 3, 2017, shows
a tan Jeep Laredo heading toward the exit of the parking lot at 9:17 a.m. On or about February
28, 2017, agents conducted surveillance at ZILEVU’s address, and observed a tan Jeep Laredo
with a Vehicle Identification Number (“VIN”) 1J4HR48N75C732. Agents ran the VIN number
through a public database and learned that the vehicle is registered to ZILEVU and his mother.

18. Surveillance footage from Floor & Décor, located in Woodbridge, Virginia,
shows a transaction on or about January 9, 2017, involving a person who matches the appearance
of ZILEVU. On that same date, the AMEX credit card was used to make a purchase totaling
$526.93 at Floor & Décor.

19. Surveillance footage from BJ Wholesale #0041 in Woodbridge, Virginia, shows a

transaction on or about January 8, 2017, involving a person who matches the appearance of
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ZILEVU. On that same date, the AMEX credit card was used to make a purchase totaling
$405.67 at BJ Wholesale #0041.

20. Onor about January 7, 2017, the AMEX credit card was used to make a purchase
at Designer Shoe Warehouse (“DSW”) in Woodbridge, Virginia. Surveillance footage from
DSW on January 7, 2017, shows a person matching ZILEVU’s description walking into DSW,
approaching the counter, and purchasing merchandise.

21. Records obtained during the investigation also indicate that ZILEVU used the
AMEX « credit card to make a payment to himself on PayPal. On or about May 10, 2016, a
request for $7,400 was sent from kzilevu@gmail.com to an email address similar to Victim A’s
true name, but does not belong to Victim A (hereinafter “Victim A’s Fraudulent Email
Account”). Google records obtained during the course of this investigation revealed that the
email address kzilevu@gmail.com is registered to ZILEVU. During the September 2019
Interview, ZILEVU admitted that kzilevu@gmail.com is his email address. On or about April 11,
2017, ZILEVU received an email from service@paypal.com <service@paypal.com>. Even
though the email was sent to kzilevu@gmail.com, the email was addressed to
“MARCROTELE.” At the September 2019 Interview, ZILEVU acknowledged owning and
operating a business called MARCROTELE.

22. A note included with the May 10, 2016, request from kzilevu@gmail.com to
Victim A’s Fraudulent Email Account stated “MARCROTELE.” Within minutes of the request
being sent, Victim A’s Fraudulent Email Account was accessed to transfer $7,400 to a PayPal
account linked to kiddysmall@yahoo.com. ZILEVU admitted that the Yahoo email is his at the

September 2019 Interview, and Yahoo records link this email to kzilevu@gmail.com and
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ZILEVU’s Google number. A review of the AMEX credit card statement showed a payment of
$7, 400 to MARCROTELE on May 10, 2016.

23. ‘There is also evidence showing that Victim A’s Fraudulent Email Account was
accessed on multiple occasions using a Verizon IP address registered to ZILEVU’s address.

24. On or about May 13, 2016, the AMEX credit card was used to purchase two Delta
plane tickets totaling $1,562.40. ZILEVU’s address, ZILEVU’s Google number, and email
address kzilevu@gmail.com were provided to Delta airlines in connection with this purchase. On
or about May 13, 2016, ZILEVU received an email to his kzilevua@gmail.com account from
Delta Air Lines <DeltaAirLines@e.delta.com> confirming two round-trip ticket purchases
totaling $1,562.40 for ZILEVU and another individual from Baltimore, Maryland, to
Sacramento, California.

25. | Onor about November 13, 2016, ZILEVU received two emails sent to his
kzilevu@gmail.com account from AmericanAirlines@aa.com addressed to Victim A. The first
email confirmed the purchase of an American Airlines ticket for ZILEVU from Washington, DC,
to Miami, Florida, on November 13, 2018. The second email was sent to confirm the purchase
of a $21.79 seat upgrade for passenger ZILEVU on the November 13, 2016, flight. Both
purchases were made using the AMEX credit card.

26. On or about November 14, 2016, ZILEVU received an email to his
kzilevu@gmail.com account from HotelTonight <help@hoteltonight.com> confirming a hotel
reservation for ZILEVU at the Riviera South Beach. This email advised that the AMEX credit
card would be charged $100 for the room reservation. The AMEX credit card statement confirms

the payment of $100.
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27. From on or about October 11, 2016, to on or about January 13, 2017, ZILEVU
paid for 37 Uber trips totaling $1,027.98 using the AMEX credit card. ZILEVU’s Uber account
showed that nine of the Uber trips taken during this time period either started or ended at
ZILEVU’s address.

28. | Areview of Amazon’s records showed that the AMEX credit card was the
primary payment method for an Amazon account in the name of ZILEVU’s father. From on or
about October 26, 2016, to on or about January 2, 2017, the AMEX credit card was used to make
nine Amazon purchases totaling $1,200.00. The mailing address and telephone number on the
account are ZILEVU’s address and ZILEVU’s Google number. A review of Microsoft records
revealed that the email address for this account (skiddysmall@hotmail.com) is associated with
ZILEVU’s Google number. ZILEVU also confirmed that the Hotmail address is his at the
September 2019 Interview.

29. | VENMO records showed that on or about June 30, 2016, a VENMO account was
opened in Victim A’s name. The primary payment method for this account was the AMEX
credit card. The email address used to register the VENMO account is similar to Victim A’s true
name and is the same email address used to create Victim A’s Fraudulent Email Account. On or
about July 7, 2016, an attempt to send a $500 payment for “Table @ park” to ZILEVU was made
on the VENMO account opened in Victim A’s name. On or about July 12, 2016, VENMO
refunded the $500 for the July 7, 2016 transaction. On or about July 14, 2016, VENMO
requested identification for the account opened in Victim A’s name. On or about October 11,
2016, the account was cancelled and flagged as fraudulent.

30. Areview of ZILEVU’s Congressional Federal Credit Union account revealed that

approximately ten electronic payments were made to the fraudulent AMEX account from
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ZILEVU’s Congressional Federal Credit Union account. It appears that ZILEVU was making the
minimum monthly payment amount to AMEX, using his Congressional Federal Credit Union
account, in order to keep the AMEX account open and active.

31.  Inor about June 2018, agents interviewed Victim A, who confirmed that the
AMEX < credit card had been taken out in his/her name, and that ZILEVU did not have
permission or authority to use his/her information to apply for the AMEX credit card.

B. Victim B

32. Onor about August 21, 2017, an electronic credit card application was submitted
to U.S. Bank & Trust using PII of Victim B. The credit card account was approved and the
credit card for this account was mailed to the address 5576 Roundtree Dr., Woodbridge,
Virginia, 22193, which is the address of ZILEVU’s parents (“‘Parents’ address”). Law
enforcement databases showed that this is ZILEVU’s previous address and the current address of
his parents. Additionally, agents observed ZILEVU at this residence on or about April 7 and
December 29, 2017. Specifically, on or about April 7, 2019, agents observed ZILEVU drive
from ZILEVU’s address to ZILEVU’s Parents’ address..

33. An email address, which is not Victim B’s email but is similar to Victim B’s
name, was listed on the U.S. Bank & Trust credit card application for Victim B. Google records
associated with that email address revealed that the email address was accessed on multiple
occasions by Verizon IP addresses assigned to ZILEVU’s parents. The physical account address
for the Verizon account of ZILEVU’s parents was ZILEVU’s address. The phone number for
the account subscriber was a number ending in 0490 (hereinafter “ZILEVU’s number”). T-

Mobile records indicated that this number was assigned to ZILEVU. The Verizon account also
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listed ZILEVU’s Google number and the email address kzilevu@gmail.com as the contact
information for the subscriber.

34. At least from on or around August 21, 2017, through at least on or around
September 15, 2017, the U.S. Bank and Trust credit card statements revealed that a total of
$10,273.39 in completed transactions and $2,651.62 in attempted transactions were made using
the credit card issued in Victim B’s name.

35. For instance, on or about September 8, 2017, the U.S. Bank and Trust credit card
was used to make a purchase totaling $942.60 for a Delta Airlines plane ticket.from Dulles
Airport in Dulles, Virginia, to Montego Bay, Jamaica, for ZILEVU.

36.  Inor about August of 2019, agents interviewed Victim B, who confirmed that the
fraudulent U.S. Bank & Trust credit card had been taken out in his/her name, and that ZILEVU
did not have permission or authority to use his/her information to apply for the U.S. Bank &
Trust Credit Card.

C. Victim C

37. | Onor about December 19, 2017, a credit card application was submitted to U.S.
Bank & Trust using Victim C’s PII. The primary address for the credit card listed Victim C’s
true address. The secondary address listed on this application is ZILEVU’s address. When the
credit card application was approved, the U.S. Bank & Trust credit card was mailed to |
ZILEVU’s address.

38. | The email address listed on the fraudulent U.S. Bank & Trust credit card
application for Victim C is DoKay1933@gmail.com. A review of Google records associated
with DoKay1933@gmail.com revealed that DoKay1933@gmail.com was accessed on multiple

occasions by an internet protocol address assigned to Verizon subscriber ASEYE ZILEVU. The

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physical account address for Verizon subscriber ASEYE ZILEVU is ZILEVU’s address. The
account lists ZILEVU’s number, ZILEVU’s Google number, and the email address
kzilevu@gmail.com as the account holder’s contact information.

39. The U.S. Bank and Trust credit card statements revealed that a total $9,641.69 in
fraudulent charges were made using this credit card.

40. For instance, on or about December 30, 2017, the U.S. Bank and Trust credit card
was used to purchase an Iceland Air ticket from Dulles Airport in Dulles, Virginia, to Reykjavik,
Iceland, totaling $701.92. The passenger name listed on this plane ticket is ZILEVU.

41. Areview of ZILEVU’s official IRS email account, kwashie.s.zilevu@irs.gov,
revealed that ZILEVU received an email from PayPal congratulating Victim C for setting up
his/her account on or about February 2, 2018. This same email instructs Victim C to click a link
in order to confirm that his/her email address, listed as kwashie.s.zilevu@irs.gov, is accurate.

On or about February 3, 2018, ZILEVU received another email to his IRS email account from
PayPal advising Victim C that he/she is officially a PayPal member.

42. In or about August of 2019, agents interviewed Victim C, who confirmed that the
fraudulent U.S. Bank & Trust credit card had been taken out in his/her name, and that ZILEVU
did not have permission or authority to use his/her information to apply for the U.S. Bank &
Trust Credit Card.

D. Congressional Federal Credit Union

43. ZILEVU has a personal account with Congressional Federal Credit Union. On or
about December 7, 2017, ZILEVU submitted a signed Affidavit of Loss to Congressional
Federal Credit Union stating the following; “I was contacted by the credit union in regards to a

potential deposit (check) that was made to my account which I do not have knowledge of. There

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were series of charges made to my account of which I am also unaware of and disputing those
charges.” ZILEVU listed a total of 17 charges incurred between on or about November 29,
2017, to on or about December 5, 2017, that add up to $1,895.15. ZILEVU certified on the
Affidavit of Loss that “I swear this affidavit is true and understand that making a false sworn
statement is subject to federal and/or state statutes and may be punishable by fines and/or
imprisonment.” The affidavit was notarized in Fairfax County, Virginia.

44. A review of ZILEVU’s email account and ZILEVU’s own admissions during the
September 2019 Interview suggests that ZILEVU falsely disputed at least some of the charges
that he did, in fact, incur. For example, ZILEVU received booking confirmation numbers from
Hotels.com for two reservations at the Plaza on the River in London, England. On or about
November 30, 2017, ZILEVU received an email from Hotels.com. The subject of this email
reads as follows; “Hotels.com booking confirmation 143502067830 - Plaza on the River —
London.” On or about November 30, 2017, ZILEVU also received an email from Visa Purchase
Alerts. The subject of this email reads as follows; “Visa Purchase Alerts: 320.57 USD at
HOTELS.COM143502067830 in HOTELS.COM on Card 9595.” On or about December 1,
2017, ZILEVU received an email from Hotels.com. The subject of this email reads as follows;
“Hotels.com booking confirmation 143527603137 - Plaza on the River — London.” On or about
December 1, 2017, ZILEVU received an email from Visa Purchase Alerts. The subject of this
email reads as follows; “Visa Purchase Alerts: 216.93 USD at HOTELS.COM143527603 137 in
HOTELS.COM on Card 9595.”

45. At the September 2019 Interview, ZILEVU admitted to going to London,
England, on or about November 29, 2017, and returning to the United States on December 4,

2017. He also stated that he remembered staying at the Plaza on the River — London.

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46, Law enforcement databases confirmed that on or about November 29, 2017,
ZILEVU boarded an airplane at Dulles International Airport in Dulles, Virginia, destined for
Heathrow International Airport, located in London, England, and that on or about December 4,
2017, ZILEVU boarded a return flight from Heathrow International Airport to Dulles
International Airport.

CONCLUSION

47. Based on the information contained herein, | respectfully submit that there is

probable cause to believe that from in or about January 2016 to in or about February 2018, in the

Eastern District of Virginia, ZILEVU committed Access Device Fraud, in violation of Title 18,

KB.

F lan. Soden
cial Agent
Treasury Inspector General for Tax Administration

United States Code, Section 1029(a)(5).

 

Subscribed and sworn to before me
on the 2 day of October 2019.

jy___ AW

John F. Anderson

United States Magistrate Judge
The Honorable John F. Anderson
United States Magistrate Judge
Alexandria, Virginia

 

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